CM/ECF -USDC Massachusetts - Version 6.2.2 as of2/9/2019                    https://cc£11Uld.circ 1,dcn/cgi-bin/Dispatch.pl? 1993279371188
                    Case 1:19-cv-11076-FDS Document 21 Filed 06/25/19 Page 1 of 5


         UNITED STATES DISTIUCT                                                      •t ! ..........
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                                                                         DISTRICT OF MASSACHUSETTS
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                                     PAUL JONES
                                            Plaintiff
                                                                                   Civil Action No.: l:19-CV-11076-
                                                v,                                 FDS

                         DOLAN CONNLY P.C., ET AL.
                                           Defendant




                                                SUMMONS IN A CML ACTION

           To: (Defendant's name and address)   {\ \ \• <;;.r>tv     DR~,v5
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                                                 Troy              c Ml l.J f{)~Y
               A lawsuit has been filed against you.

               Within 21 days after service of this summons on you (not counting the day you received it) --- or
           60
           days if you are the United States or a United States agency, or an officer or employee of the United
            States
          - described in Fed. R.. Civ. P. 12 (a)(2) or (3) ••• you must sorve on the plaintiff an answer to the attached
           complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion
           mustbe                                                                      ()
           served on the plaintiff or plaintiffs attorney, whose name and address are: f q,u(                          -=s~ tveS
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                                                                                     Sf-ouj h1-<>JU 1 //11/-J ~d-07~
                If you fail to respond, judgment by default will be entered against you for the relief demanded in
           the complaint You also must file your answer or motion with the court.




1 of3                                                                                                                                    5/9/2019, 2:02
CM/ECF - USDC MMsac:husctt:I - Ycraion 6.2,2 113 of 2/9/2019 https://ecf,mid.circ 1.don/cgi-bin/Dispatch.pl?l 9932793711883.
                  Case 1:19-cv-11076-FDS Document 21 Filed 06/25/19 Page 2 of 5




           ROBERT M. FARRELL
           CLERK OF COURT
            Isl - Matthew McKillop
          Signature of Clerk or Deputy Clerk


          ISSUED ON 2019-05-09 14:01:54.0, Clerk USDC DMA



                   Civil Action No.: 1:19-CV-11076-FDS

                                                             PROOF OF SERVICE

                         (This section should not be filed with the court unless required IJy Fed. R. Ctv• .r. 4 (l))

                         This summons for (name of individual and title, if any)
                      & \,soJ\J     oG---\°'N s
                   was received bymeon (date) 0"\,fyf \~)~o/ J .


                • I(place)
                    personally served the summons on the individual at
                          _ _ _ _ _ _ _ __

                   _ _ _ _ _ _ _ _ _ _ _ _ _ _on (date)_ _ _ _ _ _ _ _ _ _ ; or


                  I left the summons at the individual's residence or usual place of abode with
                0 (name)_ _ __

                   _ _ _ _ _ _ _ _ _ _ __. a person of suitable age and discretion who resides
                   there,
                   on (date) _ _ _ _ _ _ _ , and mailed a copy to the individual's last known address; or

                ~erved the summons on (name of individual)             3    0\   t:e   maCft/v                  , who is
                   designated by law to accept service of process on behalf of (name of
                   organization)_ _ _ __

                            Y\\~ SotJ          Qf2_ /av S:                        on(date)   D&i /01,/29      ; or
                CJ I returned the summons unexecuted because._ _ _ _ _ _ _ _ _ _ _ _ _ __
                    or


2of3                                                                                                              5/9/2019, 2:02 p:
CM/ECF - USDC Massachusetts - Version 6.2.2 as of2/9/2019              https://ecf.mad.circ 1.dcn/cgi-bin/Dispatch.pl? 19932793 711883:
                       Case 1:19-cv-11076-FDS Document 21 Filed 06/25/19 Page 3 of 5


                D Other (specify) :



                   My fees are $              for travel and $           for services, for a total of
                   $   1 ~-0   (J   - -                      - --




                   I declare under penalty of perjury that this information is true.




                                                                                    Server's Signature



                                                                                  Printed name and title




                                                                        fdY?SI/211& ShrC                /l v-r 7li !)&YY/1/;
                                                                                       Server's Address
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        Additional information regarding attempted service, etc:




3 of3                                                                                                                5/9/2019, 2:02 P1
6/15/2019                                                       USPS.com® - USPS Tracking® Results
                       Case 1:19-cv-11076-FDS Document 21 Filed 06/25/19 Page 4 of 5

   USPS Tracking®                                               FAQs     > (https://www.usps.com/faqs/uspstracking-faqs.htm)



                                                    Track Another Package                      +


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   Get Updates V




       Text & Email Updates                                                                                              V



       Tracking History                                                                                                  V



       Product Information                                                                                               V



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Case 1:19-cv-11076-FDS Document 21 Filed 06/25/19 Page 5 of 5



        •   Comp~te items 1, 2, and 3.                          A.Si,re en                               • Agent
    1   •   Print your name and address on the reverse          X
    I       so that we can return the card to you.                                                       • Addressee
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    j       or on th~ front if .space permits.                                                           ~-- t'C/




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